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 6 Attorneys for Defendant
   LAND HOME FINANCIAL SERVICES, INC.
 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11 MARCUS MANNING, VIRIDIANA LOPEZ                       Case No.: 21-cv-06505 WHO
   GARCIA,
12

13                 Plaintiffs,                           [PROPOSED] ORDER GRANTING MOTION
                                                         TO DISMISS FOR FAILURE TO STATE A
14          v.                                           CLAIM UPON WHICH RELIEF CAN BE
                                                         GRANTED (FRCP 12(b)(6))
15 LAND HOME FINANCIAL SERVICES, INC.,
                                                         Date: November 17, 2021
16                 Defendant.                            Time: 2:00 PM
                                                         Judge: Hon. Judge William H. Orrick
17                                                       Ctrm: 2

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21          WHEREAS the motion by Defendant LAND HOME FINANCIAL SERVICES, INC., to

22 Dismiss For Failure To State a Claim Upon Which Relief Can Be Granted came on regularly for

23 hearing at the time and place above indicated, before the Hon. Judge William H. Orrick, and having

24 considered the motion, any opposition and the evidence and argument presented, and good cause

25 appearing therefrom, the motion is GRANTED without leave to amend.

26          Plaintiff alleges violations under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,
27 claiming that Defendant was non-responsive to a request they issued for “exemplified copies of full

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                                                   -1-
     [PROPOSED] ORDER GRANTING MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM UPON WHICH
     RELIEF CAN BE GRANTED (FRCP 12(b)(6))                       Case No. 3:21-cv-06505-WHO
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 1 accounting, which includes debt transmittal, closing documents, accounting package and wire

 2 transfer history regarding account no: 382725.” However, Defendant is not alleged to be an agency

 3 within the meaning of the statute and is instead alleged to be a corporate lender. Accordingly, there

 4 is a failure to state a claim pursuant to FRCP 12(b)(6).

 5          Plaintiff’s Complaint is dismissed with prejudice and Defendant is awarded costs.

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 7 Dated:
                                                          UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM UPON WHICH
     RELIEF CAN BE GRANTED (FRCP 12(b)(6))                       Case No. 3:21-cv-06505-WHO
